                         UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION

MAGGI QUILLEN,                                     )
                                                   )
       Plaintiff,                                  )
                                                   )     Case No. 3:12-cv-1194
v.                                                 )     Judge Aleta A. Trauger
                                                   )
TOUCHSTONE MEDICAL IMAGING LLC,                    )
                                                   )
       Defendant.                                  )

                                             ORDER

       For the reasons set forth in the accompanying Memorandum, the defendant’s Motion for

Summary Judgment (Docket No. 17) is GRANTED IN PART and DENIED IN PART. The

plaintiff’s FMLA claim is hereby DISMISSED. The plaintiff’s remaining discrimination claims

under the ADA, THRA, and TDA will proceed to trial.

       It is so ORDERED.

       Enter this 18th day of April 2014..

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                                                   ALETA A. TRAUGER
                                                   United States District Judge




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